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                                    UNITED STATES DISTRICT COURT                                                  ZEIE HOY   l5     FH   t:   tr?
                                                  FOR THE,
                                           DISTRICT OF VERMONT                                                             CLifiFi
                                                                                                                  BY
                                                                                                                       riP{,iy etrrifr
John Doe,                                                                             CMIL CASE NO.

                    Ptaintiff,
                                                                                                              2:Zacv         - 11
                                                                                                                                    I

            v.

The Corpotation of Madboro College,

                    Defendant.




                                   COMPI.AINT AND TURY DEMAND

                                                  INTRODUCTION

7.   Plaintiff seeks tedress against Defendant The Corpotation of Marlboro College ('Madboro")

     due to the actions, omissions, errors, and the flawed procedures                           , andf or negligence and overall

     failure to provide Plaintiff with requisite due process, conceming the wrongfirl allegations                          of

     sexual misconduct made againstJohn Doe, a male, sophomote student at Defendant Marlboro.

     The unfounded allegations were made by a fellow Madboro student, Jane Doe, a senior student

     at the time.

2.   In October 201.9,Plztfltiff was falsely accused of sexual assault by Jane Doe. Jane Doe alleged

     that she was assaulted while the nvo were spending a weekend together atan off-campus cabin

     irr I7inhall, Vermont in    April   201.9.   At the cabin, Plaintiff andJane Doe spoke to each othet

     through the wall of their separate bedrooms before Plaintiff joined her in bed and the two began

     to cuddle. Jane Doe alleged that aftet being the "litde spoofl" and temoving her own

     underwear, Plaifltiff sexually assaulted her for approximately one minute in duration before they

     stopped and talked together in bed for one hour. Plaintiff andJane Doe agteed to begin dati.S

     as a couple    that evening and Jane Doe petfotmed otal sex on Plaintiff befote the two went to


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     sleep. The two then had consensual sexual intercourse the following moming. Plaintiff and

     Jane Doe then dated and regularly engaged in consensual sex befote
                                                                        Plaintiff broke up with Jane

     Doe in the Spdng of 201,9.

3.   Apptoximately seven months after the alleged sexual assault took place and after having been in

     a   relationship u/ith Plaifltiff that included nunerous consensual sexual interactions and aftet thett

     break up,Jane Doe lodged a complaint with Defendant Madboto College on October 1,4,201'9.

4.   The complaint was investigated pursuant to Matlboro's Sexual Hatassment and Sexual

     Misconduct policy beginning in October 2019, whenJane Doe met with Marlboro's Title              IX

     Coordinator and witness advocate and subsequently filed het complaint with the college. The

     investigation and determination continued through March 2O2O,whet Plaintiff was informed

     that no method of appeal was available.

5.   The investigation was first handled by Madboro's Title D( Coordinatot, who interviewed both

     Plaintiff andJane Doe, examined their written statements, interviewed a number of witnesses,

     and reviewed documentary evidence submitted by both parties tegarding the             incident' During

     this process, Jane Doe was interviewed on three separate occasions by the Tide          tX Cootdinator

     and was able to have two witnesses interviewed on het behalf. Plaintiff was interviewed only

     once by the    Title fX Coordinator and was able to have only one witness interviewed on his own

     behalf. Iike Jane Doe, Plaintiff requested for a second witness to be interviewed on his behalf

     but his tequest was denied due to alleged time consftaints.

6.   Upon the completion of her investigation, the Title D( Coordinator submitted her teport to a

     panel of five Matlboto faculty membets comprising Marlboro's Panel on Sexual Misconduct and

     recommended that the case be closed without a finding that sexual misconduct had occured.

7.   The panel of f,ve teviewed the Title D( Cootdinatot's teport, petsonally interviewed both

     Plaintiff andJane Doe, and reviewed all available evidence before agreeing with the Title IX



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       coordinator and voting in favot of the Plaifltiff.

8.     Following the two separate findings that held in Plaintiffs favor, Jane Doe appealed the decision

       of the Tide D( Panel.

9.     Although Marlboro's Sexual Harassment & Sexual Misconduct Policy explicitly lists only thtee

       narrow gtounds fot appeall, the matter was allowed to ptoceed to the appellate stage though

       none of the permitted grounds were argued byJane Doe.

10.    The appeal was examined by three members of the Dean's Advisory Committeez. The three

       members of the Committee were chosen ftom a group that consisted of the Dean of Students,

       thee Matlboto faculty members, and three Madboro students                     -   one of whom testified befote

       the Title D( Coordinator onJane Doe's behalf and described himself                    as Jane   Doe's "best

       friend". In spite of this conflict, no members of          the Dean's Advisory Committee recused

       themselves ftom the investigation.

t1,.   The three members of the Dean's Advisory Committee then supposedly reviewed all available

       documentary evidence, but conducted no interviews of their own. The Advisory Committee

       found by a ptepondetance of the evidence that Plaintiff had violated Madboto's Policy on

       Sexual Misconduct, contrary to both pdor determinations arrived at aftet face to face interviews

       of both the accuser and Plaintiff.

72. The Dean's Advisory Committee's report was then forwarded to Matlboro's Dean of Students,

       who sanctioned Plaintiff by suspending him for the remainder of the semester. This sanction

       was made without any opportunity        fot Plaintiff to advocate on his behalf.



1   Marlboro's handbook states that "Appeals will be limited to the following grounds: (1) consideration of new
evidence that was not reasonably available at the time of the formal investigation and/or the Panel's consideration of
the matter; (2) an allegation of substantial procedural error on the part of the Investigator, the Title IX Coordinator
or the Panel; or (3) the sanction imposed was disproportionate to the conduct violating the Policy."
2 According to Marlboro's handbook: "The committee advises the Dean of Students on student business and on the
application of College and Town Meeting regulations; it may propose changes in regulations to the faculty, to Town
Meeting, and to the Administration."



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1,3.   After being notified of the suspension, Plaintiff was incorectly told by the Dean that his only

       available recourse was to appeal directly to the President. However, aftet Plaintiff appealed to

       the President, Plaintiff was informed that no appeal was available to him and that the decision            of

       the Dean's Advisory Committee was final           -   a   violation of its own policies and of Title IX.

14. Plaintiff has been geatly damaged by Marlboro's breach of its contrzcttnl obligations as well as

       its violations of Title   IX. Plaintiffs   educatiotoJ cateer has been put on hold; his academic and

       employment future have been severely damaged; the money spent on obtaining a college

       education at Defendant Madboro has been squandered; his reputation has been damaged; and

       his emotional and psychological health have been greaiy compromised by the entire ordeal.

       Plaintiff brings this action to obtain telief based on causes of action fot violations of Title IX of

       the Education Amendments           of 1972,breach of contract, and breach of the covenant of good

       faith and fait dealing.

                                          TURISDICTION AND VENUE



15. This action arises out of Madboro's breach of its contractual and other obligations to the

       plaintifl   as   well as its violations of Title D( of the Education Amendments of. 1.972 (20 U.S.C.

       51681) and Vetmont common law.

16. The Plaintiff is an out of state resident, and the defendant is a tesident of             Vermont. The amount

       in conftovetsy exceeds $75,000,

17. This Court has diversity and supplemental jurisdiction pursuant to 28 U.S.C. 51331 and $1332

       because Plaintiff and Defendant arc ciuzens of different states and the amount in controversy

       exceeds $75,000 and the state law claims are so closely related to the federal law claims as to

       form the same case of controversy under Article              III of the U.S. Constitution.

18. Venue is ptoper in this district pursuant to 28 U.S.C. S 1391@) because a substantial part of the




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   events   ot omission. grving rise to the claim occurred in this judicial district.



                                                  PARTIES



19. PlaintiffJohn Doe tesides in the State of New       York. At all times specified above, Plaintiff   was a


   student at Madboro College and resided primudy on the Matlboto College campus in Madboro,

   Vermont.

20. Upon information and belief, Defendant Madboro College was a panally fedetally funded

   private liberal arts college located in Madboro, Vermont, that closed its campus and no longer

   exists as an institution of higher learning.




                                       STATEME,NT OF FACTS



                                    The Sexual Interaction in lfinhall


21. Plalniff andJane Doe met and became ftiends in the fill of 201,8 while studying together at

   Marlboro. Over the course of the school year, the friendship grew andJane Doe began t<r

   develop feelings for Plaintiff. The friendship began to involve a physical component, including

   playfrrl wrestling and platonic cuddling. In March        of   201,9,Jane Doe confronted Plaintiff to

   discuss their relationship in hopes   it would develop into something more. Shordy thereafter, the

   two planned a trip with two additional friends to Plaintiffs family cabin in lilfinhall, Vermont.

22. On the night of   Apd 5-6,2079,    the two spent a night alone togethet in the cabin.

23. During the evening, Plaintiff andJane Doe engaged in consensual sex. The following morning

   the two again had consensual sexual intercourse.

24. Plain'Jrff andJane Doe continued dating each other for a number of months until the



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      relationship ended in the srrnmer of 201,9. During this time the nvo engaged in consensual

      sexual intetcoutse on a number of occasions.

                                                    Investigation by Marlboro

25.   On October.l.O,20Lg,approximately seven months after the visit to Winhall, and aftet theit

      break up, Jane Doe reported to Madboro's Title                 IX Coordinator that an alleged sexual   assault

      had taken place dudng the trip to Winhall.

26.   A second meeting was held on October 14,2079, when Jane Doe was interviewed                      agatn   to

      discuss her complaint.        A final complaint was drafted shortly thereafter.      Jane Doe's final

      complaint alleged that Plaintiff had had sexual intercourse with het on the night of April5-6,

      2019, without het consent.

27.   On October 77,2}79,Plaintiff was interviewed by the Tide D( coordinator with Matlboto's

      respondent advisor present. During the interview, Plaintiff denied sexually assaultingJane Doe

      at the cabin in   Apd   or,   at   alaly   time before or after. Approximately t'wo weeks later, Plaintiff

      ptovided his formal response to Jane Doe's complaint. In it, Plaintiff denied any sexual assault

      and asserted that all sexual encounters with Jane Doe then and latet were consensual in nahue.

28. On Novembet 4,201.9, the Title                  fX coordinator interviewedJane Doe fot a third time, with       a


      friend present for emotional support. Jane Doe's friend was interviewed separately later that day

      as a witness on Jane    Doe's behalf. On that date Jane Doe submitted her formal teply to

      Plaintiffs response.

29. On    Novembet 8,2079,          a witness was        interviewed on Plaintiffs behalf by the Title D(

      coordinator. That same day, a second witness was interviewed onJane Doe's behalf. The

      witness, who was described           as Jane    Doe's "best ftiend", was a fellow Madboro student and also




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      a member   of the Dean's Advisory Panel.3 During the interview, Jane Doe's best friend stated

      thatJane Doe had always pteviously referred to the alleged sexual assault Ls "^n awkwatd first

      sexual interaction" and that her view of the sexual interaction only changed aftet Plaintiff had

      btoken up with her.

30.   At some point around this time, Plaintiff requested that        a second witness be interviewed on his


      behalf. AlthoughJane Doe had already been interviewed on thtee separate occasions and had

      had t'wo separate witnesses interviewed on het behalf, Plaintiffs request was denied due to time

      constraints during the investigation process.

37. On November 77,201,9,PLaJrrtiff submitted a sur-reply toJane Doe's reply.

32.   On November 18, 201,9,rhe Title D( coordinator released a pteliminary report to Plaintiff and

      Jane Doe and recornmended that Madboro's Tide D( Panel hold for Plaintiff and find that no

      violation of the school's sexual conduct policy had occurted.

JJ. Over the     following week, in spite of the aforementioned time consttaints that did not allow for

      additional witness interviews, three email exchanges took place berween Jane Doe and the Title

      fX Coordinator where additional allegations were made against Ptaintiff.

34. Plaintiff provided his response to Jane Doe's additional allegations on Novemb er               29   , 201,9.

35. OnJanuary 3,2020, Marlboro's          Tide D( Panel released theit teport and found by          a


      preponderance of the evidence that no violation of the school's policy had occured.

                                    Appeal to Dean's Advisory Committee

36. OnJanuary 7,2020,Jane         Doe appealed the decision of the Title D( Panel to the Dean's

      Advisory Committee. According to Marlboro's handbook, "Appeals will be limited to the



3  The Dean's Advisory Committee is comprised of three Madboro students, three Matlboro faculty, and the Dean of
Students. According to Madboro's Handbook, "The committee advises the Dean of Students on student business and
on the application of College and Town Meeting regulations; it may propose changes in regulations to the faculty, to
Town Meeting, and to the Administration."




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    following gtounds: (1) considetation of new evidence that was not reasonably available at the

    time of the formal investigation andf or the Panel's consideration of the matter; Q)        allegation
                                                                                           ^,
    of substantial ptocedural error on the part of the Investigator, the Tide fX Coordinator or the

    Pane! or (3) the sanction imposed was disproportionate to the conduct violating the Policy."

37. Jane Doe did not argue het appeal based on any of the permitted gtounds enumerated in the

    handbook. Jane Doe's Appeal Statement contained three arguments for appeal:            l) "[The
    Title IX Coordinator] was prejudice [sic] in her investigation; 2) "both the Panel and [the

    Title IX Coordinator] failed to take the full Marlboro Sexual Harassment & Sexual

    Misconduct Policy into account in regards to the definitions of consent and needed actions

   when receiving consent"; and 3) "the Panel misunderstood and incorrectly applied the

    standard of evidence." Although her appeal was based on impermissible grounds, the appeal

   was inexplicably permitted to proceed and be heard before the Dean's Advisory Committee.

38. Although the Dean's Advisory Committee needed only to be comprised of tfuee membets that

   were chosen from a pool of three faculty members, the Dean of Students, and tl:tee students         -
   one of whom was Jane Doe's "best friend" and had testified on her behalf eadiet on during the

   investigation and whose testimony was included in the very same tecotd that the Committee

   would be revieuring   -   no members of the Committee recused themselves ftom hearing the

   appeal.

39. Additionally, although Matlboro's policy explicidy states that the thtee-member appeal panel      will

   be chosen ftom the seven-member Dean's Advisory Committee, two of the three appeal panel

   membets were not membets of the Dean's Advisory Committee.

40. Ptaintiff was ptovided withJane Doe's formal appeal onJanuary 22"d ardwas informed that he

   had five business days to provide his response, which was odd and confusing because the earlier

   decisions were in his favor and he had nothing to appeal.




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41. On February 27,2020, the Dean's Advisory Committee, comprised of only three Madboto

    faculty members overturned both eadier determinations in Plaintiffs favor and, found that

    Plaintiff had acted in violation of Madboro's policy on sexual misconduct by having non-

    consensual intercourse withJane Doe. The Appeal Panel conducted no interviews of their own

    and based theit decision solely upon their supposed review of the undedying investigation.

A.By   leffer, on February 28,2020, Marlboto's Dean of Students, sanctioned Plaintiff by suspending

    him immediately for the remainder of the semester. The letter provided no teasoning behind

    the choice of sanction and Plaintiff had been provided no opportunity to discuss the sanctions

    prior to the decision of the Dean being rendered. Additionally, the letter mentioned no available

    avenue ofappeal.

43. Shordy thereafter, Plaintiff contacted the Dean and inquited about his options for appeal. The

    Dean incorrectly advised Plaintiff that his only recouse was to appeal the decision of the

    Committee directly to Marlboro College's President.

M. On Match 17,2020, Plaintiff wrote to the President        requesting that he overtum the Dean's

    Advisory Committee's finding. The Ptesident responded to Plaintiff on March 79,2020 and

    informed him that no appeal was available. In his letter, the President wrote that he "[did] not

    have the authority to overtum the panel's decision" and stated fruthet that, "The decision on the

    appeal is the final appeal available internally at the College." (Quoting Marlboro's            poli.r.


                                        CAUSES OF ACTION

                                         I. Breach of Contract:



45. Plaintiff repeats and tealleges the above allegations of this complaint as        if fully   set forth hetein:



46. The telationship between a student and his college is contractual in natute undet Vermont law.



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47.   Plaintiff and Marlboro enteted into a conffactual relationship when Plaintiff paid Marlboto to

      entoll at the school fot his undergraduate education. The contractual telationship between the

      parties compels certain duties and obligations, many of which can be found in, the Madboro

      College Handbook, and othet official statements, policies and publications.


48. Marlboro bteached its contract'{/ith Plaintiff by ptosecuting an investigation in violation of its

      policies and procedures. Plaintiff was provided incorrect instructions regatding his option or

      lack theteof for appeal, was provided an unjust and unbalanced opportunity to present his case

      both persona\ and thtough the use of witnesses on his behalf, was ptovided no oppotunity to

      submit a sanction statement prior to the rendedng of same, and was subjected to an

      impermissible appeal based on unauthorized gtounds.


49. As a result   of Matlboro's breach, Plaintiffs educational career has been put on hold - he has

      been denied admittance to another institution because of this unjust punishment; his academic

      and employment     futue   has been severely damaged; the money spent on obtaining a college

      education at Defendant Madboto has been squandered; his reputation has been damaged; and

      his emotional and psychological health have been gteatly comptomised by the entire ordeal.


50. Wherefore,    Plaintiff respectfiJly requests that this Court, order defendant to reverse its finding

      that plaintiff violated its policies and expunge the finding ftom his tecord; Award Plaintiff

      compensatory damages in an amount to be determined            attial; Award Plaintiff punitive damages

      inanamounttobedetermined attial GrantPlainiff anawatdofattomeyfeesandotherlitigation

      costs reasonably   incured in this action, pursuant to 42 U.S. Code      $ 1988; and   $ant Plaintiff such

      othet and further relief that this Court deems proper.




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                      II. Breach   of Covenant of Good Faith and Fair Dealin$



51. Plaintiff repeats and realleges the above allegations of this complaint as if firlly set forth here:


52. Every contract contains within   it   an implied covenant of good faith and fair dealing.



53. Matlboro bteached that covenant by conducting and putsuing an investigation in an unfait and

    biased filaruler. Plaintiff was provided incorrect instructions regarding his option ot lack thereof

    for appeil,,was provided an unjust and unbalanced opportunity to present his case both

    petsonally and through the use of witnesses on his behalf, was ptovided no opportunity to

    submit a sanction statement prior to the tendering of same, and was subjected to an

   impermissible appeal based on unauthorized gtounds.


54. As a tesult of Marlboro's breach, Ptaintiff has suffered the harms descdbed above.


55. Whetefore, Plaintiff respectfi.rlly requests that this Court, order defendant to reverse its finding

    that plaintiff violated its policies and expunge the finding ftom his tecord; Award Plaintiff

    compensatory damages in an amount to be determined           attial; Award Plaintiff punitive damages

   in an amount to be determined attiaL; Grant Plaintiff an aurard of attorney fees and other litigation

   costs reasonably   incured in this action, pursuant to 42lJ .5. Code     $ 1988; and grant   Plaintiff such

   other and firrthet telief that this Court deems proper.




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                                           III. Violation of Title IX:

56. Plaintiff repeats and realleges the above allegations of this complaint as         if fully   set forth here:



57. Title   IX of the Education Amendments of 7972 is a Fedetal civil rights law that prohibits

    discdmination on the basis of sex in education programs and activities. Putsuant to Title fX,

    Madboro is prohibited from subjecting plaintiff to a disciplinary proceeding where sex is a

    motivating factot in the decision to impose sanctions.


58. Title   [X of the Education Amendments of         7972   prohibits Marlboto ftom conducting an

    investigation ot disciplinary proceeding that is not iust and equitable.


59. Tide    IX of the Education Amendments of         7972   prohibits Marlboto ftom denying its students

    their dght of due process while conducting an investigation or disciplinary proceeding.


60. Madboro violated Plaintiffs due process rights and right to be ftee from discrimination on the

   basis of sex by subjecting him to an investigation and disciplinary ptoceeding marked by

   procedural flaws, gender bias and conflict of interest including, allowing a revetsal against the

   Plaintiff conlu:aty to the overwhelming body of evidence with no right of appeal, and by

   imposing discipline urithout an opportunity to be heard.


61. Wherefore, Plaintiff respectfirlly requests that this Court, order defendant to reverse its finding

   that plaintiff violated its policies and expunge the finding from his record; Award Plaintiff

   compensatory damages in an amount to be determined                 attial; Awatd Plaintiff punitive damages

   in an amount to be deter:rnined attial; Grant Plaintiff an award of attorney fees and othet Iitigation

   costs rezsonably incurred in this action, pursuant to 42 U.S. Code $ 1988; and grant Plaintiff such

   othet and furthet relief that this Court deems proper.




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                                      PRAYER FOR RELIEF



        WHEREFORE, Plaintiff respectfirlly requests that this Court:

   1.. Otder defendant to reverse i6 fi1ding that plaintiff violated its policies and expunge the

        firdiog ftom his tecord;

   2.   Award Plaintiff compensato{y damages in an amount to be determined             atdal;
   3.   Award Plaintiff punitive damages in an amount to be determined           attial'
   4.   Grant Plaintiff an award of attorney fees and other litigation costs teasonably incured in this

        action, putsuant to 42 U.S. Code $ 1988.

   5.   Grant Plahtiff such other and further telief that this Court deems ptoper.


DatedatBtattleboro, Vetrnont this 106 day of Novembe42020.


                                                 Respectfirlly submitted,



                                                          .loHN DOE



                                                 By,
                                                          Theodore C. I(ramet, Esq.
                                                          I(tamer Law Off,ce, P.C.
                                                          42PatkPlace
                                                          Bratdeboro, VT 05301
                                                          P (802) 2s7-2221,
                                                          F (802) 257-2373
                                                          Attoruel for the P lairutff




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                           Kraner Law, P.C, 42 Park Place, Brattfeboro, VT   05301
                                       (842) 257-2221 tckgkvpclaw, can
